                                                  U.S. Department of Justice


                                                  United States Attorney
                                                  Eastern District of New York
SK/RCH/EMR/PP/MD                                  271 Cadman Plaza East
F. #2019R00927                                    Brooklyn, New York 11201


                                                  July 25, 2022

By ECF

The Honorable Brian M. Cogan
United States District Judge
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

              Re:    United States v. Genaro Garcia Luna
                     Criminal Docket No. 19-576 (BMC)

Dear Judge Cogan:

               The government respectfully submits this letter in response to the Court’s July
15, 2022, Order that the government provide the approximate volume of 18 U.S.C § 3500
material. To date, the government has already produced more than 6,100 pages of § 3500
material. Based on materials currently in the government’s possession, the government
anticipates that it will produce an additional 7,500 pages of § 3500 material, as well as
approximately five electronic devices of a cooperating witness and approximately 4,900 audio
recordings of another cooperating witness. 1

                                                   Respectfully submitted,

                                                   BREON PEACE
                                                   United States Attorney

                                            By:      /s/
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                                                   Ryan C. Harris
                                                   Erin M. Reid
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cc:    Cesar de Castro, Esq.
       Clerk of the Court (BMC) (by ECF)




       1
        The government notes that although it does not believe the audio recordings of this
witness are likely § 3500 material because they will not “relate[] to the subject matter as to
which the witness has testified,” the government intends to produce this material in an
abundance of caution.

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